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SUPREME COURT OF THE STATE OF NEW YORK

 

COUNTY OF NEW YORK
X

EMILIE BOSAK,

Plaintiff, Index No. 300417/11

-against- AFFIRMATION IN

MANUEL P. ASENSIO, SUPPORT

Defendant. |

x

 

Mitchell Cantor, an attorney duly admitted to practice law before the Courts
of the State of New York and aware of the penalties for perjury, affirms as follows:

L; I am the attorney for the Defendant in the above referenced matter
and I make this affirmation in support of Defendant’s motion to modify this
Court’s August 13th, 2013 Judgment of Divorce (“JOD”) that incorporated, not
merged, Defendant’s Stipulation of Settlement dated April 30, 2013 (henceforth
the “Stipulation”) so as to grant Defendant: (a) immediate visitation as per the
Stipulation notwithstanding any orders to the contrary; (b) legal custody of his
daughter Eva Asensio {henceforth the “Child”); (c) sole decision-making authority
as to matters concerning the Child’s health, religion and education; (d) an order
requiring immediate drug and alcohol testing of Plaintiff; (e) suspension of the
Plaintiff from contact with the Child in light of the Plaintiff's material interference
with Defendant’s relationship with the Child and her lascivious, solipsistic and
meretricious lifestyle that has negatively affected the Child’s welfare and (f) such
other and further relief as this Court deems just and proper.

2, This action was initially commenced by Plaintiff seeking a judgment
of divorce. Plaintiff and Defendant executed a Stipulation on April 30, 2013 which
was incorporated, not merged, into the JOD on August 13, 2013.

3. Defendant initially filed a Family Violation Petition in the Family
Court of the State of New York on or about July 5, 2013 based on Plaintiff's
violation of the Stipulation even before the JOD was signed. He filed a further
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petition in Family Court on November 21 2013 and amended petition on April 13,
2014, Plaintiff filed her own Petition for upward modification of custody on or
about July 2015. Defendant withdrew all of his applications in Family Court on
March 13, 2017. Only the Plaintiff's Petition and her two orders to show cause
seeking to suspend Defendant from contact with the Child remain pending in
Family Court.

4. Defendant has made it abundantly clear in his affidavit in support of
this motion that the Family Court has ignored numerous examples of Plaintiff's
egregious parenting and her disregard for the Child’s welfare, Plaintiff's repeated
and groundless interference with Defendant’s relationship with his daughter,
Defendant’s repeated attempts to obtain redress from that Court and the clear
evidence demonstrating that Plaintiff is the moneyed spouse who receives almost
unlimited financing from her wealthy paramour.

5. Pursuant to Article VI, entitled “Judiciary” of The Constitution of the
State of New York, Section 7, the Supreme Court has general original jurisdiction
in law and equity notwithstanding the creation of the family court of the state of
New York pursuant to Section 12 a. thereof.

6. New York Courts have repeatedly held that the Family Court’s
exercise of jurisdiction does not preclude the Supreme Court from exercising its
jurisdiction in turn. Johns vy. Johns, 156 A.D.2d, 777, 778, 549 N.Y.S.2d 200,
Arlene R. v. Stephen R., 152 Misc. 2d 980, 982, 579 N.Y.S.2d 304). Dunn v.
Dunn, 224 A.D.2d 888, 889, 638 N.Y.S.2d 238, 239 (1996). The Supreme Court is
a court of general jurisdiction. The Legislature cannot deprive it of its jurisdiction,
derived from the Constitution, although concurrent jurisdiction may also be
granted to some other court. Matter of Malloy’s Estate, 278 N.Y. 429, 17 N.E.2d
108. Lazzarini v. Trapani, 10 Misc. 2d 985, 988, 172 N.Y.S.2d 614, 616 (Sup. Ct.
1958).

7. Thus, it is clear that this Court has the jurisdiction to entertain the
present motion, notwithstanding Plaintiffs pending petition in Family Court.
Furthermore, Plaintiff has filed two related cases in this Court. The first of these,
Asensio v. Spitzer, Supreme Court of the State of New York, County of New
York, Index No. 159812/16 is an action against the supervisor appointed by the
Family Court on the basis of two disputes between that supervisor and the
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Defendant. The second action, Asensio v. Bosak, Supreme Court of the State of
New York, County of New York, Index No. 153776/17 is a breach of contract
action brought by Defendant herein against Plaintiff for breach of the Stipulation.
It is Defendant’s intention to move to consolidate both of these related actions with
the case at bar. Thus it is clearly in the interest of judicial economy that the
Supreme Court take jurisdiction of the Defendant’s application in the present
action and adjudicate all of these various and related matters together.

8. Furthermore, it is established law that where parts of a separation
agreement are incorporated into but not merged within a divorce decree, as is so in
the matter at bar, the separation agreement continues in effect as a separate and
independent contractual agreement between the parties and the Family Court,
which is a court of limited jurisdiction, will have no power to modify it. Kleila v.
Kleila, 50 N-Y.2d 277, 428 N.Y.S. 896, 406 N.E.2d 753 (1980). That is the reason
why Defendant filed his breach of contract action against Plaintiff in Supreme
Court and yet another reason why the present motion, which also seeks to modify
the Stipulation, must be entertained by this Court.

9%, Defendant’s affidavit describes a litany of egregiously poor parenting
on the part of Plaintiff ranging from sexual improprieties, blatant exhibitionism
and brazen alcohol use to complete disregard for the Child’s health, welfare,
emotional, spiritual and academic development. What emerges is a portrait of the
Plaintiff as a parent who is way more interested in self-promotion and in spitefully
opposing Defendant than in nurturing her Child and caring for her appropriately.
Parenting of this nature is in no child’s best interest.

10. Accustodial parent’s interference with a non-custodial parent’s contact
with the Child in and of itself has been determined to be so inimical to the best
interests of the child as to, per se, raise a strong probability that the interfering
parent is unfit to act as a custodial parent. Finn v. Finn, 176 A.D.2d 1132, 1133,
575 N.Y.S.2d 591 (3 Dept. 1991), Young v. Young, 212 A.D.2d 114, 124, 628
N.Y.S.2d 957 (2? Dept. 1995). Plaintiff herein has repeatedly interfered with
Defendant’s contact with his daughter. This interference alone would support the
relief Defendant has requested.

11. In Mandelberg v. Mandelberg, 260 A.D.2d 533, 688 N.Y.S.2d 622
(2™ Dept. 1999), the Court upheld a transfer of custody from the mother to the
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father on the basis on the mother’s spurious allegations against the father of sexual
abuse which resulted in that father’s suspension. In the case at bar, Defendant has
been suspended for much less, and on the basis of nothing other than hearsay. The
present Plaintiff's repeated filing of applications to suspend the Defendant’s
visitation when Plaintiff admittedly has no firsthand knowledge of the facts
supporting her applications presents a similar situation to that before the Court in
Mandelberg. Custody should be awarded to Defendant because, in the words of
the Mandelberg, Plaintiff has demonstrated “her failure to place the best interests
of the child before her own interests”. King v. King, 225 A.D. 679, 639 N.Y.S.2d
465 (2" Dept. 1996); Maloney v. Maloney, 208 A.D. 603, 617 N.Y.S.2d 190 (24
Dept. 1994).

12. New York Courts have repeatedly held that in determining whether a
custody agreement should be modified, the paramount issue before the court ts
whether the totality of the circumstances warrants modification in the best interest
of the child. Friederwitzer v. Friederwitzer, 55 N.Y.2d 89, 94, 447 N.Y.S.2d 893,
432 N.E.2d 765 (1982); Teuschler v. Teuschler, 242 A.D.2d 289, 660 N.Y.S.2d
744 (2" Dept. 1997); King v. King, 225 A.D. 679, 639 N.Y.S.2d 465 (2™ Dept.
1996). In the case at bar, the current custodial parent, Plaintiff herein, is a blatant
exhibitionist who flaunts her body and her sexuality on the internet,
inappropriately sexualizes the pre-teenage Child by allowing the Child unfettered
access to these hyper-sexualized postings, introduces unsavory company to the
Child, revels on the internet in alcohol and drug use, ignores the Child when she
suffers a broken arm and demonstrates absolutely no concern for the child’s
spiritual or academic development, going so far as to withdraw the Child from
tutoring sessions which the Child desperately requires to maintain mathematics
proficiency at grade level and to advance. It is clear that under the standards set by
Friederwitzer, Teuschler and King that the Defendant should be awarded legal
custody of the Child and sole decision making authority over the Child’s health,
religion and education.

 

 

13. Defendant is also entitled as a matter of law to sole decision making
authority as to matters concerning the Child’s health, education and religion.
Plaintiff has abused her authority, in particular in connection with health, education
and religion, by ignoring the Child when she broke her arm, withdrawing the Child
from Kumon classes, testing and tutoring and in interrupting the Child’s religious
education, church attendance and spiritual practices. She has abused her authority
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in these areas as a matter of law and should have no further ability to make
decisions on these matters. Chamberlain v. Chamberlain, 24 A.D.3d 589, 808
N.Y.S.2d 352 (2™ Dept. 2005).

 

14. Notwithstanding the foregoing, at the very least Defendant’s visitation
as provided in the Stipulation should be immediately restored. According to New
York law, the relationship between a parent and a child is even more precious than
property rights and cannot be denied absent a showing of exceptional
circumstances. Levande v. Levande, 308 A.D.2d 450, 764 N.Y.S.2d 123 (2™ Dept.
2003). Even the fact that a father is incarcerated will not render visitation
inappropriate in and of itself. Edward S. v. Moon, 7 A.D.3d 834, 776 N.Y.S.2d
363 (3 Dept. 2004). Moreover, even when the circumstances are particularly
egregious, as when one parent is incarcerated for sexually assaulting the other, a
hearing is necessary to determine whether visitation is in the best interest of the
child. Edward S. v. Kelly S., 18 A.D.3d 976, 795 N.Y.S. 364 (3 Dept. 2005). No
such hearing was ever held in Family Court.

15. Defendant is a mature, Ivy League educated individual and there has
been absolutely no evidence adduced indicating that unrestricted visitation is not in
the best interest of this Child. Yet, contrary to law and without any fact finding the
Court initially suspended petitioner’s visitation on January 15, 2016 on the basis of
a hearsay affidavit from Plaintiff and a hearsay affirmation from her attorney. The
Family Court thereafter made Defendant’s visitation subject to the supervision of
the social worker with whom Defendant had a disagreement on September 17,
2016, and since September 23, 2016 Defendant has once again been suspended
entirely on the basis of a hearsay affidavit from Plaintiff and a hearsay affirmation
from her attorney, neither of whom witnessed the incident in question. The Family
Court itself recognized its error in relying on the hearsay testimony of Defendant
during its hearing on March 13, 2017 by striking Defendant’s testimony as to
events she had not personally witnessed even though it had initially suspended
Defendant on the basis of nothing other than this very hearsay and suspended him
again on September 23, 2017 based on similar hearsay allegations. This is
unconscionable, Defendant is entitled as a matter of law to see his Child ona
regular basis.
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16. Finally, the record clearly demonstrates that Plaintiff regularly and
brazenly uses alcohol and may well be using drugs, thereby putting the Child in
danger. Plaintiff proudly posts on the internet photographs of herself guzzling
alcohol accompanied by a sarcastic remark about ‘rehab” as well as a photograph
which appears to indicate she is using marijuana. This evidence is indisputable.
Plaintiff should be ordered to undergo immediate alcohol and drug testing.

17. In light of the foregoing, it is respectfully submitted that this Court
grant Defendant: (a) immediate visitation as per the Stipulation notwithstanding
any orders to the contrary; (b) legal custody of the Child; (c) sole decision-making
authority as to matters concerning the Child’s health, religion and education; (d) an
order requiring immediate drug and alcohol testing of Plaintiff; (e) suspension of
the Plaintiff from contact with the Child in light of the Plaintiff's material
interference with Defendant’s relationship with the Child and her lascivious,
solipsistic and meretricious lifestyle that has negatively affected the Child’s
welfare and (f) such other and further relief as this Court deems just and proper.

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MYTCHELL CANTOR.

Dated: New York, New York
May 10, 2017
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SUPREME COURT OF THE STATE OF NEW YORK

 

 

COUNTY OF NEW YORK
x

EMILIE BOSAK,

Plaintiff, Index No. 300417/11

-against- AFFIDAVIT IN

MANUEL P. ASENSIO, SUPPORT

Defendant.

x

STATE OF NEW YORK )
COUNTY OF NEW YORK : *
MANUEL P. ASENSIO, being duly sworn, deposes and says:
1. I am the Defendant in the above captioned action. ] make this affidavit in

support of my motion to modify this Court’s August 13th, 2013 Judgement of
Divorce [“JOD”] that incorporated not merged the parties Stipulation of Settlement
dated April 30, 2013 (henceforth the “Stipulation”) to grant me the follow:

[a] immediate visitation with my daughter Eva Asensio
(henceforth the “Child”] notwithstanding any orders of
Family Court to the contrary;

[b] legal custody of the Child;

fc] sole decision-making authority as to matters
concerning the Child’s health, religion and education;

[d] immediate drug and alcohol testing of Plaintiff;

[e] suspension of the Plaintiff from contact with the Child
in light of the Plaintiffs material interference with
Defendant’s relationship with the Child and her lascivious,
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solipsistic and meretricious lifestyle that has negatively
affected the child’s welfare, and

{f] such other and further relief as this Court deems just
and proper.

HISTORY OF THESE AND RELATED PROCEEDINGS

2. Plaintiff and I executed a Prenuptial Agreement on March 18, 2003 and an
amendment to the Prenuptial Agreement on May 12, 2003 [“Prenuptial
Agreements”] that were both individually incorporated not merged into the JOD.

3. Plaintiff and { were married in a civil ceremony in New York, New York on
May 16, 2003.

4, The Child, Eva Asensio, was born on October 14, 2004.

5. Plaintiff commenced the present action by the filing of a Summons and
Complaint on or about January 11, 2011. A copy of the Summons herein is
annexed hereto as “Exhibit 1”.

6. Plaintiff and I executed the Stipulation in a good faith attempt to definitively
resolve all outstanding issues between us in connection with our marriage, including
but not limited to: (a) ratification of our Prenuptial Agreements that dealt with
property and spousal support; (b) child support, and (c) custody, parental rights and
responsibilities and parenting time with the Child. The Stipulation incorporated the
Prenuptial Agreements provisions by which Plaintiff waived all rights to seek legal
fees from Defendant. The Plaintiff immediately violated the Stipulation and ignored
pleadings for her to comply and formal Notices of Violations.

7. On or about July 5th, 2013 I filed my first custody violation petitions against
Plaintiff in New York County Family Court (“Family Court”) because Plaintiff took
the Child to a Caribbean resort island in violation of the Stipulation without even
informing me she had done so.
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8. On or about November 21, 2013 I filed a petition in Family Court seeking an
upward modification in custody and visitation from those provisions as set forth in
the Stipulation in light of Plaintiff's material interferences and repeated violations.
A copy of this petition captioned Asensio v. Bosak, Family Court of the State of
New York, County of New York, Docket No. V-29044-13/13A is annexed hereto as
“Exhibit 2.”

9, I filed a Family Offense Petition on the basis of Plaintiff’s misuse of police to
groundlessly attempt to have me arrested at the child’s school on Wednesday,
December 5, 2013. All of Plaintiff's charges were dismissed in the interest of justice.

10. On or about April 14, 2014, I filed an amended petition for modification of
custody and visitation. A copy of this petition, captioned Asensio v. Bosak, Family
Court of the State of New York, Count of New York, Docket No. V-42839-13/13A
is annexed hereto as “Exhibit 3”.

11. In June 2015, I filed a motion to hold Plaintiff in contempt for her violation
of the Stipulation for interfering with my parenting time by sending the child away
for the weekend without notifying me or requesting my permission as the Stipulation
required. The Child broke her arm while away at the home of third parties. The
Family Court scheduled a hearing on this motion but subsequently adjourned it. No
hearing has yet been held on this or any other matter raised by me.

12. On or about July 14, 2015 Plaintiff in turn had filed a new Petition in the
Family Court seeking a modification of custody terms of the JOD reducing my
custody and parenting time.

13. The proceedings in Family Court have been fraught with irregularities and
roadblocks. I was pro se in the Family Court although I have had counsel therein
from time to time on a limited basis. In contrast, at all relevant times since my filing
of the petition for modification of custody Plaintiff has been represented by the
prestigious matrimonial law firm of Chemtob Moss & Forman, LLP.
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PLAINTIFE’S EGREGIOUS PARENTING AND SUBSTANCE ABUSE

14. The Family Court has never permitted me to present evidence of Plaintiff's
violations or egregious parenting. Examples of Plaintiff's egregious parenting and
abominable judgment are legion and include her taking the Child into bars,
introducing the Child to unsavory individuals who share Plaintiffs hedonistic
lifestyle, including a male underwear modei and a bisexual female whose modeling
career has been based on her modeling of adult toys, Plaintiff allowing the Child to
be prematurely and inappropriately sexualized through access to Plaintiff's own
inappropriate content on the internet and the Plaintiffs blatant, brazen
exhibitionism, demonstrated by her posting of lewd, lascivious and immoral
photographs and videos on the internet of herself. These photographs consist, inter
alia, of Plaintiff guzzling alcohol from a bottle dressed in what appears to be sexual
fetish garb while at a purported arts festival in the desert known as “Burning Man”
which is notorious for illegal drug use; Plaintiff smoking what appears to be a
marijuana cigarette lighted by an unseen male; Plaintiff posing naked in
photographs, including a photograph of Plaintiff naked on the family dining room
table which she has posted to a website named “Mind the Crack;” Plaintiff posing in
the apartment she shares with the Child in a thong bottom which she pulls down to
lewdly expose her pubic area and Plaintiff engaged in a blatantly sexual kiss with
another woman. Plaintiff has also inappropriately posted on social media a
photograph of a note from the Child to her across which Plaintiff has scrawled “F...
you Asensio” to demonstrate in as filthy a manner as possible that she views the
Child’s demonstrations of affection. The Plaintiff actually instructed camp
administrators to have the child write her summer camp administration for her as

nothing more than a means to spite me. Copies of these photographs are annexed
hereto as “Exhibit 4”.

15. Furthermore, the Family Court has never permitted me to present evidence of
Plaintiff's sexualized video postings to the internet, including a video where Plaintiff
walks the parapet of what appears to be the roof of a building while topless as she
shakes and shimmies provocatively and another where the Plaintiff and an unseen
male take turns spanking Plaintiffs bare buttocks. Plaintiff is an unrepentant
exhibitionist at best.

16. It is therefore essential that this Court order immediate alcohol and drug
testing of the Plaintiff since she has admitted in the very photographs she posts to
the internet that she uses both. I am concerned that Plaintiff’s admitted alcohol and
